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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.     CV 18-9573-JFW(JPRx)                                           Date: August 12, 2021

Title:       Federal Trade Commission -v- Apex Capital Group, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                                None Present
             Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                               None

PROCEEDINGS (IN CHAMBERS):              ORDER GRANTING RECEIVER’S UNOPPOSED
                                        MOTION TO EXTEND COMPLETION DEADLINE FOR
                                        RECEIVERSHIP AND INTERIM STATUS REPORT [filed
                                        7/23/21; Docket No. 186]

       On July 23, 2021, Receiver Thomas W. McNamara (“Receiver”) filed an Unopposed Motion
to Extend Completion Deadline for Receivership and Interim Status Report (“Motion”). Plaintiff and
Defendants did not file Oppositions.1 Pursuant to Rule 78 of the Federal Rules of Civil Procedure
and Local Rule 7-15, the Court finds that this matter is appropriate for decision without oral
argument. The hearing calendared for August 23, 2021 is hereby vacated and the matter taken off
calendar. After considering the moving papers, and the arguments therein, the Court rules as
follows:

        Pursuant to Local Rule 7-9, Plaintiff and Defendants were required to file and serve their
Oppositions or Notices of Non-Opposition “not later than twenty-one (21) days before the date
designated for the hearing of the motion.” See Local Rule 7-9. Local Rule 7-12 provides that “[t]he
failure to file any required document, or the failure to file it within the deadline, may be deemed
consent to the granting . . . of the motion.” See Local Rule 7-12. Plaintiff and Defendants have
failed to file a timely Opposition. Pursuant to Local Rule 7-12, the Court deems Plaintiff’s and
Defendants’ failure to file an Opposition or to otherwise comply with Local Rule 7-9 as consent to
the granting of the Receiver’s Motion.

     Accordingly, the Receiver’s Motion is GRANTED. Section XIII of the Stipulated Order for
Permanent Injunction and Monetary Judgment (Docket No. 120) is hereby modified to provide that


         1
        In his Motion, the Receiver states that counsel for the Federal Trade Commission does
not oppose to this Motion.

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the deadline for the Receiver to complete his duties shall be September 12, 2022.

      IT IS SO ORDERED.




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